     Case 1:04-cv-05278-OWW-DLB Document 82 Filed 06/03/05 Page 1 of 4



 1    SAGASER, JONES & HAHESY
      2445 Capitol Street, 2nd Floor
 2    Post Office Box 1632
      Fresno, California 93717-1632
 3    Telephone: (559) 233-4800

 4    Timothy Jones #119841
      William C. Hahesy #105743
 5    John P. Kinsey #215916
 6    Attorneys for:        Petitioners and Plaintiffs Wal-Mart Stores, Inc., a Delaware corporation,
                            and Wal-Mart Real Estate Business Trust, a Delaware statutory trust.
 7
 8                                 UNITED STATES DISTRICT COURT

 9                     EASTERN DISTRICT OF CALIFORNIA - FRESNO DIVISION

10 WAL-MART STORES, INC., a Delaware                        Case No. F-04-5278 OWW DLB
   corporation, and WAL-MART REAL
11 ESTATE BUSINESS TRUST, a Delaware                        ORDER DENYING SAVE MART
   statutory trust,                                         SUPERMARKETS’ REQUEST FOR
12                                                          RECONSIDERATION; ORDER
                    Plaintiffs,                             RESETTING HEARING DATE FOR
13                                                          DEFENDANTS’ MOTION FOR
           v.                                               SUMMARY JUDGMENT
14
   CITY OF TURLOCK, TURLOCK CITY
15 COUNCIL, and DOES 1 through 10,
   inclusive,
16
                    Defendants.
17
18                       Non-Party Save Mart Supermarkets’ (“Save Mart”) Request for Reconsideration
19    by the District Court of Magistrate Judge’s Ruling, Objections Thereto and Request for Oral
20    Argument (“Request for Reconsideration”) was heard by this Court on April 18, 2005. Natalie
21    M. Webber of Herum, Crabtree & Brown appeared on behalf of Save Mart; Benjamin P. Fay of
22    Jarvis, Fay & Doporto appeared on behalf of Defendants the City of Turlock and Turlock City
23    Council; and William C. Hahesy and John P. Kinsey of Sagaser, Jones & Hahesy appeared on
24    behalf of Plaintiffs Wal-Mart Stores, Inc. and Wal-Mart Real Estate Business Trust
25    (collectively “Wal-Mart”).
26                       Save Mart’s Request for Reconsideration concerns the January 28, 2005, Order
27    of United States Magistrate Judge Dennis L. Beck Granting in Part Motion to Compel
28    Compliance with Subpoena Duces Tecum (the “January 28, 2005, Order”). The January 28,
      {6167/041/00169184.DOC}               1
      ____________________________________________________________________________________________________
          [PROPOSED] ORDER DENYING SAVE MART SUPERMARKETS’ REQUEST FOR RECONSIDERATION; ORDER
                  RESETTING HEARING DATE FOR DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
     Case 1:04-cv-05278-OWW-DLB Document 82 Filed 06/03/05 Page 2 of 4



 1    2005, Order granted Wal-Mart’s November 23, 2004, Motion to Compel Compliance with

 2    Subpoena Duces Tecum in part, and ordered Save Mart to produce certain documents in

 3    response to the subpoena duces tecum issued July 29, 2004, and served upon Save Mart’s

 4    custodian of records on July 30, 2004 (the “Subpoena”). The addendum to the Subpoena

 5    requested the production of 67 categories of documents. On February 25, 2005, Save Mart

 6    requested reconsideration of the January 28, 2005, Order, and a hearing on its request was

 7    heard before the Honorable Oliver W. Wanger, United States District Judge, on April 18, 2005.

 8                      After consideration of the moving and opposing papers, arguments of counsel,

 9    the Court’s file in this proceeding, all other matters presented to the Court, and good cause

10    appearing therefor, IT IS HEREBY ORDERED that:

11             1.       The January 28, 2005, Order of United States Magistrate Judge Dennis L. Beck

12    Granting in Part Motion to Compel Compliance with Subpoena Duces Tecum is MODIFIED

13    as follows:

14                      a.         Save Mart shall make available to Wal-Mart for inspection and copying,

15    no later than May 18, 2005, the following categories of documents requested under the

16    Subpoena:

17                              i. Requests 1-4: Save Mart is ordered to produce all responsive documents;

18                              ii. Requests 5-28: To the extent not produced in response to previous

19    requests, Save Mart is ordered to produce all responsive documents for the period January 1,

20    2003, through the present, concerning intended or actual communications with any employee,

21    official, or representative of the City of Turlock regarding any proposed Wal-Mart Supercenter

22    within the City of Turlock and/or a “big box” ordinance concerning the City of Turlock;

23                              iii. Requests 29-59: To the extent not produced in response to previous

24    requests, Save Mart is ordered to produce all responsive documents for the period January 1,

25    2003, through the present, concerning intended or actual communications with any employee,

26    official, or representative of the City of Turlock regarding any proposed Wal-Mart Supercenter

27    within the City of Turlock and/or a “big box” ordinance concerning the City of Turlock;

28    ///
      {6167/041/00169184.DOC}                           2
      ____________________________________________________________________________________________________
            [PROPOSED] ORDER DENYING SAVE MART SUPERMARKETS’ REQUEST FOR RECONSIDERATION; ORDER
                    RESETTING HEARING DATE FOR DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
     Case 1:04-cv-05278-OWW-DLB Document 82 Filed 06/03/05 Page 3 of 4



 1                              iv. Requests 59-60: To the extent not produced in response to previous

 2    requests, Save Mart is ordered to produce all responsive documents; and

 3                              v. Requests 61-67: To the extent not produced in response to previous

 4    requests, Save Mart is ordered to produce all responsive documents for the period January 1,

 5    2003, through the present, concerning intended or actual communications with any employee,

 6    official, or representative of the City of Turlock regarding any proposed Wal-Mart Supercenter

 7    within the City of Turlock and/or a “big box” ordinance concerning the City of Turlock.

 8                      b.         Save Mart believes that the Court’s April 18, 2005, ruling encompassed

 9    only actual or intended communications with the City. Wal-Mart does not believe the Court’s

10    ruling was so limited.           Wal-Mart believes that Save Mart must produce all responsive

11    documents for the period January 1, 2003, through the present, regarding any proposed Wal-

12    Mart Supercenter within the City of Turlock and/or a “big box” ordinance concerning the City

13    of Turlock. Wal-Mart and Save Mart, however, have not been able to resolve this dispute

14    because the transcript of the Court’s April 18, 2005, proceeding will not be available until the

15    week of May 16, 2005. As such, Wal-Mart and Save Mart have agreed to the production

16    specified in paragraph (1)(a) above with the understanding that Wal-Mart may seek to modify

17    the under upon review of the transcript. Once the transcript is received, if Wal-Mart desires to

18    seek modification of the order, it will first meet and confer with Save Mart’s counsel. If the

19    parties can agree, a modified order will be submitted to the Court. If the parties cannot agree,

20    the parties will submit a letter to the Court explaining their position, attaching a copy of the

21    transcript and a proposed modified order.

22                      c.         On or before May 4, 2005, Save Mart, at its option, may submit to the

23    Court to conduct an in camera inspection of any responsive documents containing information

24    protected by the attorney-client privilege or the attorney work product doctrine. The Court

25    shall review any such documents, and issue a future decision concerning the production of said

26    documents.

27    ///

28    ///
      {6167/041/00169184.DOC}                          3
      ____________________________________________________________________________________________________
            [PROPOSED] ORDER DENYING SAVE MART SUPERMARKETS’ REQUEST FOR RECONSIDERATION; ORDER
                    RESETTING HEARING DATE FOR DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
     Case 1:04-cv-05278-OWW-DLB Document 82 Filed 06/03/05 Page 4 of 4



 1                      d.      Save Mart may designate documents as “confidential” pursuant to the

 2    terms of the [Proposed] Second Amended Protective Order attached hereto and incorporated

 3    herein as Exhibit “A.”

 4             2.       The hearing on Defendants’ March 29, 2005, Motion for Summary Judgment,

 5    or in the Alternative Partial Summary Judgment, which was previously set for May 23, 2005,

 6    shall be continued until July 11, 2005. Plaintiff’s opposition papers are due June 20, 2005.

 7    This Order, however, is made without prejudice to the parties to seek any further continuance

 8    of the hearing on the above motion for summary judgment.

 9    DATED: May 10 , 2005.

10                                                   By     /s/ OLIVER W. WANGER
11                                                         Honorable Oliver W. Wanger
                                                           United States District Judge
12
13
14    APPROVED AS TO FORM AND CONTENT:

15    DATED: June 2 , 2005.                          JARVIS, FAY & DOPORTO

16
17
                                                     By   /s/ Benjamin P. Fay
18                                                        Benjamin P. Fay, Attorneys for Defendants

19
      DATED: June 2 , 2005.                          HERUM, CRABTREE & BROWN
20
21
22                                                   By /s/ Jennifer Scott
                                                          Jennifer Scott, Attorneys for Non-Party
23                                                        Save Mart Supermarkets
24
25
      DATED: June 4 , 2005.                          SAGASER, JONES & HAHESY
26
27
                                                    By /s/ John P. Kinsey
28                                                       John P. Kinsey, Attorneys for Plaintiffs
      {6167/041/00169184.DOC}                       4
      ____________________________________________________________________________________________________
          [PROPOSED] ORDER DENYING SAVE MART SUPERMARKETS’ REQUEST FOR RECONSIDERATION; ORDER
                  RESETTING HEARING DATE FOR DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
